              Case
     Fill in this      24-11112-amc
                  information                   Doc 1
                              to identify your case:       Filed 04/01/24 Entered 04/01/24 23:47:51                              Desc Main
                                                           Document Page 1 of 43
     United States Bankruptcy Court for the:

     ____________________
     Eastern               District of _________________
             District of Pennsylvania  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        BENARK,     LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               1918 COUNTY LINE ROAD                                    _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Huntingdon Valley           PA      19006
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Montgomery County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 24-11112-amc             Doc 1         Filed 04/01/24 Entered 04/01/24 23:47:51                              Desc Main
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                BENARK, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            722511
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 24-11112-amc                     Doc 1      Filed 04/01/24 Entered 04/01/24 23:47:51                               Desc Main
                                                          Document Page 3 of 43
               BENARK, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           ✔




                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000
                                           ✔
                                                                             $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 24-11112-amc                    Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51                                 Desc Main
                                                          Document Page 4 of 43
             BENARK, LLC
Debtor       _______________________________________________________                             Case number (if known)_____________________________________
             Name



                                          $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000
                                          ✔
                                                                               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            04/01/2024
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ ARKADY VISHNEVSKY
                                              _____________________________________________               ARKADY VISHNEVSKY
                                                                                                         _______________________________________________
                                              Signature of authorized representative of debtor           Printed name

                                                     SOLE MEMBER
                                              Title _________________________________________




18. Signature of attorney
                                          /s/ Maggie Soboleski
                                              _____________________________________________              Date         04/01/2024
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              Maggie Soboleski
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Center City Law Offices, LLC
                                              _________________________________________________________________________________________________
                                              Firm name
                                              2705 Bainbridge St
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Philadelphia
                                              ____________________________________________________            PA             19146
                                                                                                             ____________ ______________________________
                                              City                                                           State        ZIP Code

                                              2156202132
                                              ____________________________________                              msoboles@yahoo.com
                                                                                                             __________________________________________
                                              Contact phone                                                  Email address



                                              88268                                                           PA
                                              ______________________________________________________ ____________
                                              Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
               Case 24-11112-amc                                    Doc 1              Filed 04/01/24 Entered 04/01/24 23:47:51                                                                    Desc Main
                                                                                       Document Page 5 of 43

 Fill in this information to identify the case:

                BENARK, LLC
  Debtor name _________________________________________________________________

                                          Eastern District of Pennsylvania
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                            8,000.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                              8,000.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          205,000.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                           32,600.00



4. Total liabilities ...........................................................................................................................................................................          237,600.00
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 24-11112-amc                  Doc 1      Filed 04/01/24 Entered 04/01/24 23:47:51                              Desc Main
                                                            Document Page 6 of 43
      Fill in this information to identify the case:

                    BENARK, LLC
      Debtor name __________________________________________________________________

                                              Eastern District of Pennsylvania
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     AMEX SIMPLY CASH BUSINESS CARD                                      Credit Card Debt
1    P.O. BOX 6031
     Carol Stream, IL, 60197
                                                                                                                                                   13,000.00


     MASTERCARD BUSINESS LINE OF                                         Credit Card Debt
2    CREDIT
     PAYMENT REMITTANCE CENTER
                                                                                                                                                   10,000.00
     P.O. BOX 51174
     Los Angeles, CA, 90051
     WELLS FARGO BANK, N.A.                                              BUSINESS EXPENSES
3    PO BOX 14517
     Des Moines, IA, 50306
                                                                                                                                                   7,100.00


     AMEX/AMAZON                                                         Credit Card Debt
4    PO BOX 6031
     Carol Stream, IL, 60197                                                                                                                       2,500.00



5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
              Case 24-11112-amc               Doc 1     Filed 04/01/24 Entered 04/01/24 23:47:51                               Desc Main
                                                        Document Page 7 of 43
                  BENARK, LLC
    Debtor       _______________________________________________________                   Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                       professional        unliquidated, total claim amount and deduction for value of
                                                                       services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                            Total claim, if   Deduction for      Unsecured
                                                                                                            partially         value of           claim
                                                                                                            secured           collateral or
                                                                                                                              setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
            Case 24-11112-amc                          Doc 1   Filed 04/01/24 Entered 04/01/24 23:47:51                          Desc Main
                                                               Document Page 8 of 43
  Fill in this information to identify the case:

               BENARK, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Eastern District of Pennsylvania
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          WELLS FARGO CHECKING
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   1,000.00
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 1,000.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                              page 1
            Case 24-11112-amc                     Doc 1     Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
Debtor           BENARK, LLC                                Document Page 9 of 43
                _______________________________________________________          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case 24-11112-amc                   Doc 1        Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
                BENARK, LLC
Debtor                                                      Document Page 10 of Case
               _______________________________________________________            43 number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
                                                                                                           LIQUIDATION VALUE         300.00
  LONG  SHELF LIFE SUPPLIES
   ________________________________________                  ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                  300.00
                                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
     
     ✔ Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
                                                                    LIQUIDATION VALUE                 300.00
      Yes. Book value _______________
      ✔
                                                    Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 24-11112-amc                   Doc 1        Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
Debtor
                BENARK, LLC                                 Document Page 11 of Case
               _______________________________________________________            43 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                        $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
           Case 24-11112-amc                   Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
                BENARK, LLC
 Debtor                                                   Document Page 12 of Case
               _______________________________________________________          43 number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________    ____________________   $______________________

    47.2___________________________________________________________         $________________    ____________________   $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    RESTAURANT EQUIPMENT
                                                                                                 RESTAURANT AUCTIONEER
                                                                                                                     6,700.00
    ______________________________________________________________         $________________                       $______________________
                                                                                                 ____________________



51. Total of Part 8.                                                                                                      6,700.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
             Case 24-11112-amc
               BENARK, LLC
                                                   Doc 1         Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
 Debtor                                                         Document Page 13 of Case
                  _______________________________________________________             43 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
        No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            Case 24-11112-amc                           Doc 1    Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
Debtor            BENARK, LLC                                   Document Page 14 of Case
                 _______________________________________________________              43 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                         _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                         Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                               page 7
              Case 24-11112-amc                          Doc 1          Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
                   BENARK, LLC
Debtor                                                                 Document Page 15 of Case
                  _______________________________________________________                    43 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         1,000.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         300.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         6,700.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         8,000.00                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  8,000.00                                                                                       8,000.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
              Case 24-11112-amc                           Doc 1      Filed 04/01/24 Entered 04/01/24 23:47:51                                    Desc Main
                                                                    Document Page 16 of 43
  Fill in this information to identify the case:
              BENARK, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     SMALL BUSINESS ADMINISTRATION                               LONG SHELF LIFE SUPPLIES,
      __________________________________________
                                                                 RESTAURANT EQUIPMENT                                            205,000.00
                                                                                                                               $__________________          8,000.00
                                                                                                                                                          $_________________

     Creditor’s mailing address

      U.S. DEPT OF THE TREASURY
      ________________________________________________________
      P.O. BOX 979101, ST. LOUIS, MO 63197-9000
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            09/29/2021
                                     __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔ No

    same property?                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                               $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                 No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
          Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  205,000.00
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        2
                                                                                                                                                            page 1 of ___
            Case 24-11112-amc                  Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51                                  Desc Main
                                                          Document Page 17 of 43
Debtor
               BENARK, LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
                   Case 24-11112-amc               Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51                                Desc Main
      Fill in this information to identify the case:          Document Page 18 of 43

      Debtor
                      BENARK, LLC
                      __________________________________________________________________

                                              Eastern District of Pennsylvania
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                          Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                         12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔ No. Go to Part 2.

       Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 3
                                                                                                                                              page 1 of ___
             Case  24-11112-amc
               BENARK, LLC                     Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
  Debtor        _______________________________________________________
                Name                                      Document Page 19 of Case
                                                                                43 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AMEX SIMPLY CASH BUSINESS CARD                                                                                           13,000.00
                                                                                                                           $________________________________
                                                                            Contingent
    P.O. BOX 6031                                                           Unliquidated
    Carol Stream, IL, 60197                                                 Disputed
                                                                                                   Credit Card Debt
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            8400
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AMEX/AMAZON                                                            Check all that apply.                             2,500.00
                                                                                                                           $________________________________
    PO BOX 6031                                                             Contingent
    Carol Stream, IL, 60197                                                 Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    MASTERCARD BUSINESS LINE OF CREDIT                                                                                       10,000.00
                                                                                                                           $________________________________
                                                                            Contingent
    PAYMENT REMITTANCE CENTER                                               Unliquidated
    P.O. BOX 51174                                                          Disputed
    Los Angeles, CA, 90051
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    WELLS FARGO BANK, N.A.                                                 Check all that apply.
                                                                                                                             7,100.00
                                                                                                                           $________________________________
    PO BOX 14517                                                            Contingent
    Des Moines, IA, 50306                                                   Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:
                                                                                                   BUSINESS EXPENSES

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            9405
                                               __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________           No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________          No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    3
                                                                                                                                                       2 of ___
            Case 24-11112-amc
             BENARK, LLC                   Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51 Desc Main
 Debtor        _______________________________________________________
               Name                                   Document Page 20 of Case
                                                                            43 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          0.00
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     32,600.00
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                32,600.00
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __    3
                                                                                                                                      3 of ___
            Case 24-11112-amc                  Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51                               Desc Main
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 Fill in this information to identify the case:

             BENARK, LLC
 Debtor name __________________________________________________________________

                                         Eastern District of Pennsylvania
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       COMMERCIAL LEASE                                 JUSTA FARM SHOPPING CENTER
         State what the contract or    Lessee
 2.1     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
            Case 24-11112-amc                   Doc 1       Filed 04/01/24 Entered 04/01/24 23:47:51                                 Desc Main
                                                           Document Page 22 of 43
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             BENARK, LLC

                                         Eastern District of Pennsylvania
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                                                          D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
           Case 24-11112-amc                   Doc 1        Filed 04/01/24 Entered 04/01/24 23:47:51                              Desc Main
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Fill in this information to identify the case:
             BENARK, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Eastern                     District of _________
                                                District of Pennsylvania
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    
    ✔ None
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                            Operating a business
           fiscal year to filing date:     From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                 From ___________         to     ___________          Operating a business              $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:       From ___________         to     ___________          Operating a business
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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                BENARK, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________                        $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.

            __________________________________________       _________       $__________________
            Insider’s name

                                                             _________

                                                             _________


            Relationship to debtor
            __________________________________________



     4.2.   __________________________________________
            Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




            Relationship to debtor

            __________________________________________



Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 2
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                 BENARK, LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                       Pending
                                                                                                                                                On appeal
             Case number                                                                                                                        Concluded

             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                Pending
     7.2.
                                                                                                                                                On appeal
             Case number
                                                                                                                                                Concluded


             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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                 BENARK, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
      None
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value
                                                                 CHARITABLE DONATION
            AMERICAN   CANCER SOCIETY                                                                                        12/31/2023           750.00
     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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               BENARK, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Center City Law Offices, LLC
           __________________________________________
   11.1.                                                                                                                 01/22/2024
                                                                                                                         ______________      $_________
                                                                                                                                               5,000.00
           Address

           2705 Bainbridge Street
           PHILADELPHIA, PA 19146




           Email or website address
           msoboles@yahoo.com
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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               BENARK, LLC
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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               BENARK, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.   ________________________________________                                                                                       ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                           Electronically
                                                                                                                                           Paper
                                                             Nature of the business operation, including type of services the             If debtor provides meals
           Facility name and address                         debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
               Does the debtor have a privacy policy about that information?
             
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

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Debtor        BENARK, LLC
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              BENARK, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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               BENARK, LLC
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   BENARK, LLC
Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                              Dates of service


              ELLIOTT SKLAR AND ASSOCIATES, PC                                                              From _______
   26a.1.     __________________________________________________________________________________
              Name
              13320 PHILMONT AVE, PHILA. PA 19116                                                           To _______




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    ELLIOTT SKLAR AND ASSOCIATES, PC
                   ______________________________________________________________________________
                   Name
                    13320 PHILMONT AVE, PHILA. PA 19116




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                    BENARK, LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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              BENARK, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any
 ARKADY VISHNEVSKY                          380 TOMLINSON PLACE, Philadelphia, PA 191116             SOLE MEMBER                             100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔ No

      Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   ______________________________________________________________             _________________________          _____________
           Name


                                                                                                                         _____________


                                                                                                                         _____________

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________
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                BENARK, LLC
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      04/01/2024
                             _________________
                              MM / DD / YYYY



            /s/ ARKADY VISHNEVSKY
            ___________________________________________________________                               ARKADY VISHNEVSKY
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                SOLE MEMBER
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔ No
          Yes



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
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 Fill in this information to identify the case and this filing:

              BENARK, LLC
 Debtor Name __________________________________________________________________

                                         Eastern District of Pennsylvania
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    04/01/2024
        Executed on ______________                          /s/ ARKADY VISHNEVSKY
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  ARKADY VISHNEVSKY
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  SOLE MEMBER
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             United States Bankruptcy Court
                               Eastern District of Pennsylvania




         BENARK, LLC
In re:                                                            Case No.

                                                                  Chapter    11
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




             04/01/2024                          /s/ ARKADY VISHNEVSKY
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                 SOLE MEMBER
                                                 Position or relationship to debtor
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AMEX SIMPLY CASH BUSINESS CARD
P.O. BOX 6031
Carol Stream, IL 60197


AMEX/AMAZON
PO BOX 6031
Carol Stream, IL 60197


JUSTA FARM SHOPPING CENTER


MASTERCARD BUSINESS LINE OF CREDIT
PAYMENT REMITTANCE CENTER
P.O. BOX 51174
Los Angeles, CA 90051


SMALL BUSINESS ADMINISTRATION
U.S. DEPT OF THE TREASURY
P.O. BOX 979101
ST. LOUIS, MO 63197-9000


WELLS FARGO BANK, N.A.
PO BOX 14517
Des Moines, IA 50306
        Case
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                                      United States Bankruptcy Court
                                                           Eastern District of Pennsylvania
                                               __________________________________
     In re BENARK, LLC
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         5,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         300.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]
FILING OF ALL OFFICIAL BANKRUPTCY FORMS, PLANS, OPERATING REPORTS AND OTHER FORMS REQUIRED BY THE U.S. TRUSTEES
OFFICE OR THE BANKRUPTCY COURT.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
ALL ADVERSARY PROCEEDINGS BROUGHT BY DEBTOR OR DEFENSE OF DEBTOR; ALL PROCEEDINGS TO AVOID LIENS IN BOTH
CHAPTER 7, CHAPTER 11 AND CHAPTER 13; OBJECTIONS TO CREDITOR CLAIMS, DEFENSE OF MOTIONS FOR RELIEF FROM STAY
AND ALL OTHER DEFENSIVE MOTIONS OR OBJECTIONS.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       04/01/2024                        /s/ Maggie Soboleski, 88268
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         Center City Law Offices, LLC
                                        _________________________________________
                                             ​Name of law firm
                                         2705 Bainbridge St
                                         Philadelphia, PA 19146
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                          UNITED STATES BANKRUPTCY COURT
                                       Pennsylvania - Eastern
                           DISTRICT OF _____________________




In re BENARK, LLC                                      Case No.
                                                       Chapter 11

                          (Debtor(s)


                CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate
                                                                    BENARK, LLC
possible disqualification or recusal, the undersigned counsel for

in the above captioned action, certifies that the following is a (are) corporation(s), other than the

debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the

corporation(s’) equity interests, or states that there are no entities to report under FRBP 7007:


 ✔ None [check if applicable]




04/01/2024                                              /s/ Maggie Soboleski
Date                                                     Statement of attorney or Litigant
